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                                          1 CHRISTOPHER R. ORAM, ESQ
                                            Nevada Bar No. 004349
                                          2 520 South Fourth Street, Second Floor
                                            Las Vegas, Nevada 89101
                                          3 (702) 384-5563
                                          4 Attorney for Defendant
                                            ALIA BOBER
                                          5                              UNITED STATES DISTRICT COURT
                                                                              DISTRICT OF NEVADA
                                          6
                                                                                        *****
                                          7
                                              UNITED STATES OF AMERICA,                    CASE NO. 2:13-cr-00361-KJD-GWF
                                          8
                                                            Plaintiff,
                                          9
                                              vs.                                          MOTION TO APPROVE MS. BOBER’S
                                         10                                                REQUEST FOR PERMISSION TO
                                              ALIA BOBER,                                  TRAVEL.
                                         11
520 SOUTH 4TH STREET | SECOND FLOOR




                                                               Defendant.
 TEL. 702.384-5563 | FAX. 702.974-0623




                                         12
    CHRISTOPHER R. ORAM, LTD.




                                                    COMES NOW, Defendant, ALIA BOBER, by and through her attorney, CHRISTOPHER
       LAS VEGAS, NEVADA 89101




                                         13
                                         14 R. ORAM, ESQ., and hereby submits this Motion to Approve Ms. Bober’s Request for
                                         15 Permission to Travel.
                                         16         This motion is made and based upon the following memorandum, and all of the pleadings
                                         17 and papers on file herein.
                                         18         DATED this 9th day of June, 2015.
                                         19                                                   Respectfully submitted:

                                         20
                                                                                              /s/ Christopher R. Oram, Esq.
                                         21                                                   CHRISTOPHER R. ORAM, ESQ.
                                                                                               Nevada Bar #004349
                                         22                                                   520 S. Fourth Street, 2nd Floor
                                                                                              Las Vegas, Nevada 89101
                                         23                                                   (702) 384-5563

                                         24                                                   Attorney for Defendant
                                                                                              ALIA BOBER
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                                          1                                  POINTS AND AUTHORITIES
                                                     Ms. Bober is requesting permission to travel from June 15, 2015 through June 18, 2015 for
                                          2
                                              the purposes of a workshop for her employer in Durham, North Carolina.
                                          3
                                          4          Ms. Bober has been compliant with the terms of her release. Ms. Bober keeps in regular

                                          5 contact with her probation officer. Therefore, it is respectfully requested that this Court grant this
                                          6 motion and approve Ms. Bober’s request for permission to travel. The request to travel that Ms.
                                          7 Bober completed has been attached as Exhibit A.
                                          8                                            CONCLUSION
                                          9
                                                     Therefore, based on the foregoing, Ms. Bober respectfully requests this Court grant this
                                         10
                                              motion and approve Ms. Bober’s request for permission to travel.
                                         11
                                                                    DATED this 9th day of June, 2015.
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       LAS VEGAS, NEVADA 89101




                                         13                                                        /s/ Christopher R. Oram, Esq.
                                                                                                   CHRISTOPHER R. ORAM, ESQ.
                                         14                                                         Nevada Bar #004349
                                                                                                   520 S. Fourth Street, 2nd Floor
                                         15                                                        Las Vegas, Nevada 89101
                                                                                                   (702) 384-5563
                                         16
                                                                                                   Attorney for Defendant
                                         17                                                        ALIA BOBER
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                                          1                                    CERTIFICATE OF SERVICE
                                                     I hereby certify that I am an employee of CHRISTOPHER R. ORAM, ESQ., and that on
                                          2
                                              the 9th day of June, 2015, I served a copy of the foregoing Motion to Approve Ms. Bober’s
                                          3
                                              Request for Permission to Travel by U.S. District Court CM/ECF Electronic Filing, to:
                                          4
                                          5
                                            ROBERT KNIEF, ESQ.
                                          6 Assistant United States Attorney
                                            330 Las Vegas Blvd. South
                                          7 5th Floor
                                            Las Vegas, Nevada 89101
                                          8
                                                                                  /s/ Jessie Vargas
                                          9                                       An Employee of Christopher R. Oram, Esq.
                                         10
                                         11
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                                          1                                               ORDER
                                                     This matter is before the Court on Defendant Ali Bober’s Motion to Approve Request for
                                          2
                                              Permission to Travel, filed June 9, 2015.The undersigned has reviewed the request and the request
                                          3
                                              to travel to Durham, North Carolina from June 15, 2015 through June 18, 2015 is approved.
                                          4
                                              Accordingly,
                                          5
                                          6          IT IS HEREBY ORDERED that defendant Alia Bober’s Motion to Approve Request for

                                          7 Permission to Travel is granted.
                                          8
                                          9                                                      UNITED STATES DISTRICT JUDGE
                                                                                                 6/12/15
                                         10
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